CaSe 1-17-46613-nh| DOC 41-2 Filed 03/08/18 Entered 03/08/18 15243:41

 

EXHIBW B

 

 

 

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Regards,

Ron

City Council bill aims to kneecap
Uber and Lyl't

Legislation would rein in app-based services with new
regulations

.HB\/ Matthew F|amm
Uber and Lyft, the free ride is over.

Or would be, at |east, if the City Counci| passes a bill just hatched by the new
For-Hire Vehic|e Committee of the City Counci|.

The legislation would create a new category inside the Taxi and Limousine
Commission specifically for app-based services and would hit the e-hail
operators with tighter regulations and higher fees.

ADVERT|S|NG

Uber and Lyft have long been classified as black cars, which had traditionally
been the designation for limos and cars servicing corporate accounts, and
which generally face lighter regulations than taxis.

"| have seen how Uber is not regulated-that what is being demanded of other
members of the industry is not demanded of Uber," said Counci|man Ruben
Diaz Sr., chairman of the new committee, who crafted the bill with input from
Christopher Lynn, who ran the Taxi and Limousine Commission during the
Giu|iani administration. "The point is to make it equal and fair."

The app-based companies have come under scrutiny as their rapid growth has
contributed to record levels of congestion in Nlanhattan while undermining the
traditional hired-car industries. Taxi medallions have plummeted in value and
lenders that backed them have gone into receivership ln the past few weeks
there have been two highly publicized suicides by drivers who were struggling
to earn a living.

While taxis are capped by the number of medallions at around 13,500, there
are more than 100,000 for-hire vehicles on the road, including black cars and
liveries. That is well over double the number from tive years ago, and nearly
72,000 are working for app-based services.

Uber declined to comment on the bill. The company has long said that most of
its cars are picking up passengers outside of congested areas, and that it has
brought a needed transportation service to underserved parts of the city. A Lyft
spokeswoman could not be reached.

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The bill would reverse the growth of the services through a range of measures,
including an annual $2,000 fee on each vehic|e.

Some measures mimic the requirements taxis face: ln the past, an
environmental study needed to be done before new medallions could be
issued. The bill proposes that any new license for an app-based service base
would also have to meet city environmental requirements-as would any
license renewa|.

Other measures are more drastic: Ride requests that come into a base would
have to be dispatched to cars working with that base-and a base could have
no more than 250 vehicles affiliated with it.

A|l cars would have to be attached to a single base. Currently, an e-hail driver
working for Uber can respond to a dispatch from any Uber base.

That would signilicant|y impair Uber's mode|, which is to have cars available
everywhere.

New York Post:

A proposed City Counci| bill would sock Uber "bases" with a $20,000 annual fee
for a license to operate in New York City, and an additional $2,000 per vehicle that
would likely be passed on to the drivers.

lt is the first bill proposed by the Committee for For-Hire Vehicles, led by
Counci|man Ruben Diaz Sr. (D-Bronx).

For most black~car companies, a base is a physical dispatch ofhce. But Uber has
about two dozen “bases" that exist only in cyberspace and that drivers belong to in
name on|y.

The bill also calls for cars that are used by app-based companies to be inspected
more regularly and for drivers to post a photo of their license for riders to see, just
as taxi drivers must do.

“These drivers are getting away with whatever they want while other drivers are
suffering," said Diaz. “Let's create the same rules that apply to everyone, because
otherwise, it’s not fair."

The Committee for For-Hire Vehicles first met last month in response to
complaints from yellow-cab drivers who say they are losing their shirts because
street hails and medallion values have dropped since Uber and Lyft came on the
scene.

That meeting came a week after a broke livery driver, Doug|as Schifter, killed
himself at the gates of City Ha||.

Schifter blamed his financial plight on the increasing number of for-hire vehicles on
city streets, writing in a Facebook suicide note that it had become impossible to
earn a living as a driver.

Uber officials declined to comment on the bi||, saying they wanted to review it
before making a statement

